                      Gilbert, Joel </O=BALCHlOU=FIRST ADMINISTRATIVE
  From:
                      GROUP/CN=RECIPIENTS/CN=JGILBERT>
  Sent:               Wednesday, October 21,20152:40 PM
  To:                 'Mr. Van Richey' <vrichey@american-usa.com>; 'Matt Bowden'
                      <mwbowden@southernco.com>; 'mikethompson@thompsontractor.com'; 'Roberson,
                      David' <DRoberson@drummondco.com>
  Subject:            RE: AJE Info (Attorney Work Product / Attorney-Client Communication / Privileged &
                      Confidential)
  Attach:             2015 1020 LeFleur to Toney EPA Region 4 - Tarrant City AL.PDF; Tarrant IAla Joint
                      Resolution SJR97 (signed) (I).pdf; Tarrant 2 Jefferson County Resolution (1) (I).pdf;
                      Tarrant 3 City Council Resolution (I).pdf; Tarrant 4 Mayor Tuck Letter (I).pdf


  Attorney Work Product / Attorney-Client Communication / Privileged & Confidential

  AII- I just wanted to pass along the attached letter from ADEM Director LeFleur to EPA Region IV concerning EPA's
  activities in Tarrant. Also, if you have any feedback/comments concerning the draft letter for prospective members that
  I sent out last Friday, please let me know. Thanks.

  Joel


  From: Gilbert, Joel
  Sent: Friday, October 16, 2015 11:42 AM
  To: 'Mr. Van Richey'; 'Matt Bowden'; 'mikethompson@thompsontractor.com'; 'Roberson, David'
  Cc: McKinney, Steve
  Subject: RE: AJE Info (Attorney Work Product / Attorney-Client Communication / Privileged & Confidential)

  Attorney Work Product / Attorney-Client Communication / Privileged & Confidential

  AII-

  Attached for your review is a draft of a letter I have put together for use by AJE in contacting prospective members.
  Please let me know if this is what you had in mind or if you were looking for something different. One particular issue I
  need feedback on is the "ask" in the letter. Is AJE wanting to have one big meeting and invite everyone or is this letter
  more of an initial notification of the formation of AJE and letting them know we will be following up with them
  individually soon? Let me know how you would like to handle and I will revise accordingly. Also, how do you want the
  letter signed? Once we have the letter finalized, we need to discuss the various companies that you want to receive the
  letter and we will get it to them.

  Additionally, I also wanted to follow up on David's original email below and give you all an update on some of the
  community outreach efforts in the Tarrant area that I am aware of:

  Get Smart Tarrant
      •  This past weekend, the residents in the area of EPA's initial sampling effort were surveyed by the Get Smart
        Tarrant group that David references below. It was used as a way to establish dialogue between Get Smart
        Tarrant representatives and the residents, as well as to understand if there are any real legitimate
         environmental concerns in the adjacent neighborhoods. This survey is in addition to the fliers that went out the
        week before. The feedback Get Smart Tarrant has gotten so far, is that the community as a whole is uninformed
         of what is going on and is not in favor of EPA coming in and sampling the area. (The survey is attached.)

         •    In addition to the fliers and survey, notices to the actual property owners making them aware of EPA's activities
             and directing them to a call-in number and website for Get Smart Tarrant to get more information went out this




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         week to the property owners that own all the properties within the area designated for EPA's initial activities. Get
            Smart Tarrant will also be distributing yard signs to Tarrant residents in the near future, a picture of the yard
            signs is attached.

         •    There has been a great deal of interest throughout the neighborhoods regarding what EPA is up to, based on
             that, Get Smart Tarrant has been asked to host several neighborhood block meetings in the near future to
             educate the various residents as to why EPA coming into to Tarrant is not good for the City.


         •    Finally, Get Smart Tarrant sent a letter to Lanier Brown (Chair of the Alabama Environmental Management
             Commission) this week, highlighting the fact that the City of Tarrant and Jefferson County have passed
             resolutions requesting the State's help in pushing back on EPA. In addition, the Governor and the state
             legislature have also instructed ADEM to become fully engaged with what is taking place in Tarrant, despite this,
             ADEM has not become engaged in the matter (attached).

  City of Tarrant
         •    Earlier this week, the City of Tarrant sent a letter to all of its residents notifying them of EPA's upcoming
             activities and telling the residents that the City did not believe EPA had any justification to perform the sampling
             and the City was opposed to EPA activities (attached).

  Tarrant / Pinson Valley Chamber of Commerce
         •    Through Mike Thompson, I've been asked to speak at the Tarrant/Pinson Valley Chamber in November
             concerning EPA's and various local special interests groups' activities in Tarrant and the surrounding area and
             the potential impacts it will have on their companies.

  Also, I know David tried to schedule a meeting several weeks ago but because of various conflicts, could not get one
  organized. Given the amount of activity and the need to really begin recruitment for AJE, a meeting probably is
  advisable in the next week or two if possible. Please let me know your availability and I will try to get a meeting
  scheduled.

  If you have questions or comments on any of the above, please let me know. Thanks.

  Joel




    A CH
    BI"GHAM


  Joel!. Gilbert, Partner, Balch & Bingham LLP
  1901 Sixth Avenue North • Suite 1500 • Birmingham, AL 35203-4642
  t: (205) 226-8737 f:(205) 488-5824 e: jgilbert@balch.com
  www.balch.com



  From: Roberson, David [mailto:DRoberson@drummondco.com]
  Sent: Friday, October 02,20159:57 AM
  To: Mike Thompson; Mr. Van Richey; Matt Bowden
  Cc: Ben Thomas; Gilbert, Joel
  Subject: Attorney-Client Privileged Information

  Joel Gilbert asked me to forward you the attached information to review prior to our Monday conference call.
  Joel is out of town but requests that this information be treated as Attorney-Client Privileged and Confidential
  Information.
  The map is the one given the City of Tarrant by EPA during a meeting this week, showing the area that EPA




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                                                                                                         Balch-ORF-PRIV-002366
                                                                                                                    DX 1223 - 002
  intends to come in and sample initially to determine if further action is needed. This area includes a total of
  25 properties, with 2 of those properties being the 2 individuals that signed on the GASP petition.
  The flyer attached is from the group GET SMART TARRANT, a new group formed to inform the citizens of what
  is about to happen to them if the area becomes a Superfund site.

  David Roberson
  Vice President
  Governmental & Regulatory Affairs
  Drummond Company, Inc.
  1000 Urban Center Drive, Suite 300
  Birmingham, AL 35242
  Office (205) 945-6580




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                                                                                                          Balch-ORF-PRIV-002367
                                                                                                                     DX 1223 - 003
 LANCE
 DIRECTOR
         R.   LEFlEUR

                                                            ADEM
                                                   Alabama Department of Environmental Management
                                                                 adem.alabama.gov
                                                                                                                           ROBERT         J.   BENTLEY
                                                                                                                                          GOVERNOR




                                               1400 Coliseum Blvd. 36110-2400 • Post Office Box 301463
                                                           Montgomery, Alabama 36130-1463
                                                         (334) 271-7700 • FAX (334) 271-7950


                                                               October 20, 2015


               Ms. Heather McTeer Toney
               Regional Administrator, U.S. EPA, Region 4
               Atlanta Federal Center
               61 Forsyth Street, S.W.
               Atlanta, Georgia 30303-8960

               Dear Administrator Toney:

                       Please see the attached Alabama Senate Joint Resolution SJR97, the Resolution of the
               Jefferson County Commission, the Resolution of the Tarrant City Council, and the Letter to the
               Citizens of Tarrant from Mayor Loxcil Tuck regarding the July 1, 2014 petition by the
               organization G.A.S.P. to investigate possible hazards to public health in the Tarrant I Pinson
               Valley communities.

                     Pursuant to EPA's CERCLA authority and EPA's internal procedures, EPA has
              performed a Preliminary Assessment and determined there is insufficient existing data to make a
              determination on proposing the area for listing on the National Priorities List. It is our
              understanding EPA will perform a Site Investigation to obtain the necessary data to determine if
              proposing a listing on the KPL is warranted,

                      ADEM, as the state agency tasked with overseeing environmental management activities
               in Alabama, has a vital interest in confirming that all data collection, analysis, and interpretation
               are accomplished in a timely and appropriate manner. As the attached documents make clear,
               there are many parties interested in this matter. This is especially so in light of concerns
               expressed previously regarding the North Birmingham area.

                      You may recall that ADEM was unable to concur in the North Birmingham proposed
              NPL listing for a number of reasons including the lack of access to data. To avoid a similar
              situation with the Tarrant! Pinson Valley matter, I ask that you provide a copy of the proposed
              sampling pian and laboratory methodology to be utilized by EPA for early review by ADEM.

                      The other reasons for non-concurrence such as counter-indicating ATSDR studies, non-
              supporting Jefferson County Department of Health cancer studies, no demonstrated significant
              threat to public health, and the availability of other more productive pathways to address any
              contamination present may also come into play in the Tarrant / Pinson Valley matter. In an
              effort to coordinate ADEM and EPA concerns more effectively, ADEM recommends both
              agencies address these issues during EPA's deliberative process before any proposed final action
              by EPA,

 Birmi ngham Branch              Decatur Bra nch                                              Mobile Branch              Mobile-Coastal
 110 VUJC~II RUod                2715 Sandlin ROilu, S_W.                                     2204 Perimeter Road        3664   Dou~hi{l Slr,el,   Suite B
 Birmingham, AL 35209-4702       Decatur, AL 35603-1333                                       Mobile, AL 36615-1131      Mobile, A_ 36608
 (205) 942-6168                  (256) 353-1713                                               (251) 450-3400             (251) 304-1176
 (205) 941-1603 (FAX)            (256) 340-9359 (FAX)                                         (251) 4792593 (FAX)        (251) 304-1189 (FAX)




CONFIDENTIAL                                                                                               Balch-ORF-PRIV-002368


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                                                                                                                                   DX 1223 - 004
      Heather McTeer Toney
      10/20/2015
      Page 2 of2

             I look forward to reviewing this with you at your earliest convenience.




                                                      J?~-------------
                                                          Lance R. LeFleur
                                                          Director

      LRL/ghe

      Attachments(4)

      cc: Franklin Hill, EPA Region 4
          Lanier Brevi/n, AEMC




CONFIDENTIAL                                                                    Balch-ORF-PRIV-002369


                                                                                       Balch-ORF-PRIV-002369
                                                                                              DX 1223 - 005
   1     SJR97
                                          ACT No. 2015.~
   2     169945-3

   3     By Senator Waggoner

   4     RFD: Rules

   5     First Read: 28-MAY-15




                                 Page 0




CONFIDENTIAL                                    Balch-ORF-PRIV-002370


                                                       Balch-ORF-PRIV -002370
                                                              DX 1223 - 006
                                           SJR91




   1     SJR97

   2

   3

   4     ENROLLED, SJR97,

   5                  URGING INCREASED OVERSIGHT OF AND OPPOSITION TO

   6     EPA'S ACTIVITIES IN ALABAMA.

   7

   8                  WHEREAS, the Alabama Department of Environmental

   9     Management    (ADEM)   is entrusted by the citizens of Alabama to

  10     manage the State's resources in a manner compatible with the

  11     environment and the health and welfare of the citizens of the

  12     State; and

  13                  WHEREAS, ADEM oversees a comprehensive and

  14     coordinated program of environmental management capable of

  15     protecting Alabama's citizens from environmental and health

  16     hazards; and

  17                  WHEREAS, ADEM has an exemplary record of applying

  18     its regulatory programs in a fair and consistent manner; and

  19                  WHEREAS, Alabama depends on strong, viable

  20     businesses to provide jobs, stability, and tax revenue for its

  21     diverse communities; and

  22                  WHEREAS, businesses which comply with all applicable

  23     federal, state, and local environmental obligations should be

  24     free to operate without persistent interference from the




                                          Page 1




CONFIDENTIAL                                                  Balch-ORF-PRIV-002371


                                                                      Balch-ORF-PRIV-002371
                                                                             DX 1223 - 007
                                        SJR97




   1     United States Environmental Protection Agency (EPA) and
   2     others; and

   3               WHEREAS, EPA has applied its enforcement authority

   4     arbitrarily and unfairly in some of its activities in North
   5     Birmingham and Tarrant; and

   6               WHEREAS, EPA has proposed the "35th Avenue Site" in

   7     North Birmingham for inclusion on the National Priority List

   8      (NPL) of Superfund sites, despite inadequate technical and

   9     legal basis for doing so and without the State's support; and

  10               WHEREAS, EPA is attempting to impose a novel and

  11     overbroad "air deposition" theory of Superfund liability which

  12     would allow EPA to pursue industrial facilities for

  13     contamination at non-contiguous properties on the basis of air

  14     emissions which are subject to the federal Clean Air Act and

  15     authorized by a valid air operating permit; and

  16               WHEREAS, EPA's broad air deposition theory would

  17     allow EPA to order businesses to clean up hazardous
  18     contamination within an indefinite area before proving that

  19     the business was actually responsible; and
  20               WHEREAS, EPA is pursuing this air deposition theory
  21     as an illicit means for funding policy initiatives which are
  22     outside its regulatory authority; and
  23               WHEREAS, EPA lacks legal authority under the

  24     Comprehensive Environmental Response, Compensation, and




                                       Page 2




CONFIDENTIAL                                               Balch-ORF-PRIV-002372


                                                                   Balch-ORF-PRIV -002372
                                                                          DX 1223 - 008
                                       SJR97




   1     Liability Act (CERCLA) or other federal law to impose this

   2     theory of air deposition liability; and

   3               WHEREAS, the Alabama Attorney General has submitted

   4     comments to EPA vigorously objecting to EPA's methods of

   5     investigating the 35th Avenue site, assessing its own

   6     findings, proposing the site for inclusion on the NFL, and

   7     identifying PRPs; and

   8               WHEREAS, ADEM has objected to EPA proposing the site
   9     for inclusion on the NFL; now therefore,
  10               BE IT RESOLVED BY THE LEGISLATURE OF ALABAMA, BOTH

  11     HOUSES THEREOF CONCURRING, That we urge the EPA to reconsider

  12     its proposal to include the 35th Avenue site on the NFL
  13     without the support of the State.

  14               BE IT FURTHER RESOLVED, That we urge EPA to refrain

  15     from acting outside of its statutory authority in North

  16     Birmingham, Tarrant, and other communities in Alabama, and

  17     specifically to abandon its questionable "air deposition"

  18     theory of CERCLA liability.
  19               BE IT FURTHER RESOLVED, That we urge the Attorney

  20     General and ADEM to combat the EPA's overreach and request

  21     that the Governor and Alabama's Congressional Delegation take
  22     any and all steps within their power to ensure that EPA's
  23     activities in Birmingham, and elsewhere throughout the state,
  24     remain squarely within its express statutory authority and are




                                       Page 3




CONFIDENTIAL                                              Balch-ORF-PRIV-002373


                                                                    Balch-ORF-PRIV -002373
                                                                           DX 1223 - 009
                                      SJR97




   1     appropriate for a science-based, regulatory agency entrusted

   2     with regulating American businesses.

   3               BE IT FURTHER RESOLVED, That we support the comments
   4     and objections offered by the Attorney General and ADEM in

   5     response to EPA's overreaching, and we support both the

   6     Attorney General and ADEM as they continue in their legal

   7     opposition to the EPA's overreach.




                                     Page 4




CONFIDENTIAL                                             Balch-ORF-PRIV-002374


                                                                   Balch-ORF-PRIV -002374
                                                                          DX 1223 - 010
                                        SJR97



   1

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   3

   4                 President and Presiding Officer of the Senate



   5

   6                    Speaker of the House of Representatives



   7       SJR97
   8       Senate 02-JUN-15
   9       I hereby certify that the within Senate Joint Resolution
  10       originated in and was adopted by the Senate, as amended.
  11
  12                                     Patrick Harris
  13                                     Secretary
  14
  15


  16
  17       House of Representatives
  18       Adopted: 03-JUN-15
  19


  20
  21       By: Senator Waggoner




       APPROVED
            •
                                                          Alaba.a Secretary Of State
                                                             Act Nu•..•• : 2015-426
                                                             B111 Nu•..• : SJR-97
                                                          Recv'd 06/10/15   03: 58p.SLF
                                       Page 5




CONFIDENTIAL                                                  Balch-ORF-PRIV-002375


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CONFIDENTIAL                                                                        Balch-ORF-PRIV-002376


                                                                                           Balch-ORF-PRIV-002376
                                                                                                  DX 1223 - 012
          employee of the governing body of the County or any other public official or public employee, in any manner whatsoever, to secure or obtain
          this Agreement and further certify that, except as expressively set out in the scope of work or services of this Agreement, no promise or
          commitment of any nature whatsoever of anything ofvalue whatsoever has been made or communicated to any such governing body member
          or employee or official as inducement or consideration for this Agreement.
          19.      HOLD HARMLESS AND INDEMNIFICATION: Contracting party agrees to indenmify, holdharnlless and defend Jefferson County,
          Alabama, its elected officers and employees (hereinafter referred to in this paragraph collectively as "County"), from and against any and all
          loss expense or damage, including court cost and attorney's fees, for liability claimed by a third party against or imposed upon County because
          of bodily injury, death or tangible property damage, real or personal, negligent acts, errors or omissions, including engineering and/or
          professional error, fault, mistake or negligence ofIntegrator, its employees, agents, representatives, or subcontractors, their employees, agents
          or representatives in connections with or incident to the performance of this agreement. Company obligation under this Section shall not
          extend to any liability caused by the sole negligence of the County, or its employees.
          20.      LIMITATION OF LIABILITY
                   Except for Contractor's indenmity obligation for third party claims for personal injury, death, property damage, or infringement, County
          hereby agrees that Contractor total liability to County for any and all liabilities, claims or damages arising out ofor relating to this Agreement,
          howsoever caused and regardless of the legal theory asserted, including breach of contract or warranty, tort, strict liability, statutory liability
          or otherwise, shall not, in the aggregate, exceed fees paid to Contractor during the previous 12-month period. Except for Contractor's
          indenmity obligation for third party claims for personal injury, death, property damage, or infringement, in no event shall either Contractor
          or County be liable to the other for any punitive, exemplary, special, indirect, incidental or consequential damages (including, but not limited
          to, lost profits, lost business opportunities, loss of use or equipment down time, and loss of or corruption to data) arising out of or relating
          to this Agreement, regardless of the legal theory under which such damages are sought, and even if the parties have been advised of the
          possibility of such damages or loss and notwithstanding any failure of essential purpose of any limited remedy.
          21.    VIOLATION: Any violation of this certification shall constitute a breach and default of this Agreement which shall be cause for
          ternlination. Upon such ternlination Contractor shall immediately refund to the County all amounts paid by the County pursuant to this
          Agreement.
                   IN WITNESS WHEREOF, the Parties have hereunto set their hands and seals or caused these presents to be executed by their duly
          authorized representative.
          Jefferson County Commission
          W.O. CARRINGTON, PRESIDENT
          Vendor
          _ _ _ _ _ _ _ _, Authorized Signature
                   Motion was made by Conmlissioner Stephens seconded by Conmlissioner Brown that the above resolution be adopted. Voting "Aye"
          Stephens, Brown, Bownlan and Carrington.




                                                                           Oct-9-2014-902


                                       A RESOLUTION TO SUPPORT THE CITY OF TARRANT, ALABAMA, AND
                                                  ITS RESOLUTION IN OPPOSITION TO THE JULY 1,2014
                             PETITION OF G.A.S.P. TO THE UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                TO INVESTIGATE AND DECLARE RESIDENTIAL AREAS IN THE CITY OF TARRANT TO BE A SUPERFUND SITE
                   BE IT RESOLVED AND ORDERED by the County Commission ("Conmlission") of Jefferson County (the "County") in the State
          of Alabama as follows:
                 WHEREAS, the Conmlission is aware of the petition, dated July I, 2014 (the "Petition"), submitted by the organization known as
          G.A.S.P. to the U.S. Environmental Protection Agency ("EPA"); and
                 WHEREAS, the Conmlission understands that the Petition seeks certain actions by EPA to declare certain residential areas within the
          City ofTarrant, Alabama, to be a Superfund site under the federal Comprehensive Environmental Response, Compensation, and Liability Act;
          and
                 WHEREAS, the Conmlission further understands that the City Council of Tarrant has found the allegations in the Petition to be
          unfounded and that the actions requested ofEPA in the Petition would subject the City, its residents, and its businesses to substantial economic
          hardships, including decreased property values, closing ofbusinesses, significantjob loss, diversion ofCity revenues and expenditure offunds,
          and generally depressed economic development; and

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CONFIDENTIAL                                                                                                                    Balch-ORF-PRIV-002377



                                                                                                                                                Balch-ORF-PRIV-002377
                                                                                                                                                                DX 1223 - 013
                 WHEREAS, the County Department of Health, EPA, and the U.S. Department of Health and Human Services, Agency for Toxic
          Substances and Disease Registry, have each conducted recent studies related to health risks in the North Birmingham area, each concluding
          that no unacceptable risks or health impacts are present, and
                 WHEREAS, the County Department of Health specifically concluded in its AUh'llst 6, 2014 report that populations in the Collegeville,
          Fairmont, and Harriman Park areas of North Birmingham have the same or lower statistical chances of death due to cancer or pulmonary
          disease than do populations across the rest ofthe County; and
                 WHEREAS, the Conmlission has been advised that the allegations in the Petition are unfounded and agrees that the actions requested
          of EPA in the Petition would cause substantial economic hardships to the City of Tarrant, its residents, and its businesses; and
                 WHEREAS, the Conmlission finds that such negative economic impact to the City of Tarrant would also negatively impact the
          economic well-being of the County; and
                 WHEREAS, the Conmlission further fmds that the Petition and the actions of EPA requested therein would also directly subject the
          County, its residents, and its businesses to these same economic hardships; and
                 WHEREAS, the City of Tarrant has requested assistance from state and local leaders and representatives in opposing the G.A.S.P.
          Petition, including the Honorable Governor ofthe State ofAlabama Robert Bentley, the Alabama Department ofEnvironmental Management,
          the Honorable United States Senators Richard Shelby and Jeff Sessions, the Honorable United States Representative Spencer Bachus of the
          6th District of Alabama, and the Honorable United States Representative Terri Sewell ofthe 7th District of Alabama; and
                 WHEREAS, the City ofTarrant has further called upon the City of Birmingham, and the Honorable Mayor William A. Bell, to oppose
          the G.A.S.P. Petition in order to promote a prosperous economic future for the Greater Birmingham Area; and
                 WHEREAS, the Conmlission agrees with the City of Tarrant that assistance from these federal, state and local leaders is warranted
          and necessary to prevent the substantial economic hardships to the City of Tarrant, the Greater Birmingham Area, and Jefferson County that
          would result from the actions requested of EPA in the Petition; and
                 WHEREAS, the Jefferson County Conmlission hereby agrees that the actions of EPA requested therein present an unacceptable risk
          ofnegative economic impacts to the County, its residents, its local businesses, and the municipalities within and adjacent to County borders;
          and
                 WHEREAS, that because of the negative economic impacts that would result from the Petition, if granted, the Commission hereby
          supports and joins with the City of Tarrant in its opposition to the G.A.S.P. Petition and the actions of EPA requested therein, and asks EPA
          to deny said petition.
                 BE IT FURTHER RESOLVED that the Conmlission hereby requests the support of the heretofore mentioned leaders and
          representatives of the State of Alabama and the City of Birmingham in opposing the G.A.S.P. Petition.
                 NOW, THEREFORE, the Jefferson County Conmlission hereby adopts and approves this resolution, on the 9'" day of October, 2014.
                 Motion was made by Conmlissioner Stephens seconded by Conmlissioner Brown that the above resolution be adopted. Voting "Aye"
          Stephens, Brown, Bowman and Carrington.




                                                                          Oct-9-2014-903


                 WHEREAS, Act 705 , October 2,1986 of the Alabama State Legislature deternlines the personnel of the Jefferson County Planning
          and Zoning COlllll1ission; and
                 WHEREAS, the Act establishes three designated positions on the Conmlission, which are: I) An employee of the county designated
          by the County Commission; 2) The County Engineer; and, 3) An employee of the Board of Health appointed by said Board; and
                 WHEREAS, the Commission wishes to appoint an appropriate employee for the County's designated county employee position.
                 NOW THEREFORE BE IT RESOLVED BY THE JEFFERSON COUNTY COMMISSION, that the County employee appointed to
          be a designated member of the Jefferson County Planning and Zoning Commission shall be the person holding or acting in the position of
          Deputy County Manager for Infrastructure.
                 Motion was made by Conmlissioner Stephens seconded by Conmlissioner Brown that the above resolution be adopted. Voting "Aye"
          Stephens, Brown, Bowman and Carrington.




                                                                          Oct-9-2014-904


                 BE IT RESOLVED BY THE JEFFERSON COUNTY COMMISSION that the Conmlission does hereby ratify the action taken by

                                                                                27




CONFIDENTIAL                                                                                                               Balch-ORF-PRIV-002378



                                                                                                                                          Balch-ORF-PRIV-002378
                                                                                                                                                          DX 1223 - 014
                                        RESOLUTION NO. 7955

              A RESOLUTION TO OPPOSE THE JULY 1~ 2014 PETITION OF G.A.S.P.
              TO THE UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
              TO INVESTIGATE AND DECLARE RESIDENTIAL AREAS IN THE
              CITY OF TARRANT TO BE A SUPERFUND SITE


             WHEREAS, the City Council of the City of Tarrant has reviewed the petition filed on
     July 1, 2014, by the organization known as G.A.S.P. with the U.S. Environmental Protection
     Agency ("EPA"); and

            WHEREAS~ the City Council, with the assistance of City staff and legal counsel, has
     evaluated the claims set forth in the G.A.S.P. petition, the applicable Federal, State, and local
     laws and regulations, and pertinent environmental studies conducted in the City and the Greater
     Birmingham Area; and

              WHEREAS~    after due consideration of the aforementioned, the City Council finds the
     G.AS.P. petition to be unfounded and hereby opposes that same petition and asks EPA to deny
     it; and

            WHEREAS, the City Council further finds that should EPA take the actions requested in
     the G.AS.P. petition, the City of Tarrant would likely suffer substantial economic hardships,
     including decreased property values, closing of businesses, significant job loss, diversion of City
     revenues and expenditure of funds, and generally depressed economic development; and

             WHEREAS, it is the City's desire to oppose the actions of G.AS.P. and to contest the
     allegations and requests contained in the July 1, 2014 petition to EPA; and

            WHEREAS~ the City requests the assistance of State leaders and representatives in
     opposing the G.AS.P. petition, including the Honorable Governor of the State of Alabama
     Robert Bentley, the Alabama Department of Environmental Management, the Honorable United
     States Senators Richard Shelby and Jeff Sessions, the Honorable United States Representative
     Spencer Bachus of the 6th District of Alabama, and the Honorable United States Representative
     Teri Sewell ofthe 7th District of Alabama; and

             WHEREAS, the City further requests the assistance of the City of Birmingham and the
     office of Honorable Mayor William A Bell in opposing the G.AS.P. petition and to promote a
     prosperous economic future for the Greater Birmingham Area.

             NOW, THEREFORE~ BE IT RESOLVED by the City Council of the City of Tarrant,
     Alabama, while in regular session on Thursday, September 4, 2014 at 7:15 p.m., that the City
     hereby finds meritless and disputes the allegations of G.AS.P. contained in the July 1, 2014
     petition, opposes the actions requested therein, and asks EPA to deny said petition; and




     Doc ID: 1355827




CONFIDENTIAL                                                                      Balch-ORF-PRIV-002379



                                                                                           Balch-ORF-PRIV-002379

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               BE IT FURTHER RESOLVED that the City hereby requests the support of the
      heretofore mentioned leaders and representatives of the State of Alabama in opposing G.A.S.P.
      in its pursuit of the unfounded claims set forth in its July 1, 2014 petition to EPA.

              ADOPTED this 4th day of September, 2014.




                                            APPROVED :
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                                                           Loxcil B. Tuck, Mayor




      ATTEST:         ~QfiwL
                      Lillian A. Keith, City Clerk




                                   CERTIFICATION OF CITY CLERK


      STATE OF ALABAMA               )
      JEFFERSON COUNTY               )

             I, Lillian A. Keith, City Clerk of the City of Tarrant, Alabama, do hereby certify that the
      above ang foregoing is a true and correct copy of a Resolution duly and legally adopted by the
      City Council of the City of Tarrant, Alabama, on September 4,2014, while in regular session on
      September 4,2014, and the same appears of record in the minute book of said date of said City.

              Witness my hand and seal of office this 5th day of September, 2014.




                                                     ~Q~
                                                     Lillian A. Keith, City Clerk




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CONFIDENTIAL                                                                        Balch-ORF-PRIV-002380



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  BENJAMIN GOLDMAN                                  LOXCIL B. TUCK                                     LYNN KEITH
    CITY ATTORNEY                                         MAYOR                                        CITY CLERK


                                          CITY OF TARRANT
                                                1604 Pinson Valley Parkway
                                                     P.O. Box 170220
   COUNCIL MEl\mERS                            Tarrant, Alabama 35217-0220                      COUNCIL MEl\mERS
  CATHERINE ANDERSON                               Office 205/849-2800                        DEBORAH M. MATTHEWS
JOHN T. "TOMMY" BRYANT                               Fax 205/849-2805                         BETTYS.MIDDLEBROOKS

                                                    LAURA HORTON
                                                    MAYOR PRO TEM



   Dear Citizens of Tarrant:

   Over the past decade, no organization has accomplished more to help improve the quality of life of Tarrant
   residents and businesses than your City government and employees. No individual or entity cares more for the
   health and well-being of our citizens than the men and women who serve our City. From the Greenway trail
   initiative to the flood mitigation project, from the Vulcan Rivet & Bolt clean up to the historic downtown
   renovations, the City's efforts and accomplishments have earned awards and recognition throughout the state.
   We are committed to making Tarrant a cleaner, healthier, better place to live, to work, to play and to build a
   lasting future.

   While we are very proud of our accomplishments, we fully recognize that there is always more work to be done-
   and, we support all sincere efforts designed to improve the quality of life for the citizens of Tarrant. However, we
   must respectfully disagree with the tactics currently being employed that are needlessly causing concern among
   our City's residents about their health and safety, their property values, their homes and the futures of their
   families. As you may be aware, recently, the EPA decided to further investigate a portion of our community in
   response to a petition that the EPA received from members of an interest group, a group targeting our local ABC
   Coke facility. Even though the Jefferson County Board of Health has certified our City's air quality as "good", and
   even though all businesses operating within the City of Tarrant have been deemed by the Health Department to be
   in full compliance with all existing environmental rules and regulations, this promotes an agenda that, in our view,
   is unnecessary and unjustified.

   We all want a better life for our citizens and our community, and your City government and its employees are
   committed to continuing our efforts to keep our environment clean and healthy. In fact, there are several new
   initiatives in various stages of development that will provide additional environmental improvement for our City.
   We welcome the support and involvement of all entities who want to responsibly help us reach our goals for a
   better Tarrant. But, we respectfully disagree with those who feel more reckless and potentially economically
   damaging efforts are required - and we hope that in the best interests of our citizens that they will reconsider
   their actions. If you should have any questions regarding this EPA issue, please contact Jennifer L. Wendel,
   Remedial Project Manager with the EPA, at (404) 562-8799.

   Yours for a better Tarrant - Gateway to Progress!

  ~t7Cf~/6 ~
   Loxcil B. Tuck, Mayor




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